Case 2:03-cv-O2409-.]PI\/|-tmp Document 238 Filed 04/22/05 Page 1 of 2 Page|D 152

IN THE UNITED sTATEs DISTRICT coun'r Flf-€» ~ ,Uj€"/.
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvJ:sJ:oN 05 ,=1?¥€ 22 PH l~' 14 _

 

ROBEWFH.Di"FUO
CLEEK.US.D}M.CI

REBECCA H~ TREACE' \ND.OFTN,MEMHMS

Plaintiff,
vs.

NO. 03-2409-M1

UNUM LIFE INSURANCE COMPAN'Y
OF AMERICA.

\.d\-f`-*'i-I\-IV`-¢v""

Defendant.

 

ORDER OF TRANSFER

 

By reason of the transfer of case No. 03-2946-3 Clemmie Sales
v. Fayette County, et al., from Magistrate Judge Tu Pham to the
undersigned and in order to maintain a balanced number of
references handled by the magistrate judges, this case is hereby
transferred to Magistrate Judge Tun Phan\for further references and
assignments.

£B”J
IT IS SO ORDERED this day of April, 2005.

20@ /<. 7/(//@%

DIAN'E K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

'Th!s document entered on the dock_§t shee; in qornpliance
with Hu!e 58 and]or 79(a) FHCP on k ” `

153

ITRICT oURT - WESTENR DISRICT oF TNNESSEE

       

UNDITE sTATEs D

Notice of Distribution

This notice confirms a copy of the document docketed as number 238 in
case 2:03-CV-02409 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Bradley W. Eskins
ESKINS KING7 PC
50 N. Front St.

Ste. 1 170

1\/1emphis7 TN 38103

John W. Campbell

HUSCH & EPPENBERGER
200 Jefferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

R. Scott Vincent

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis
254 Court Ave.

Second Floor

1\/1emphis7 TN 38103

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

